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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF MISSISSIPPI

                                    CIVIL MINUTES



CASE NO.: 4:20-cv-164-DMB-JMV                            PLACE HELD – Greenville, MS


MAURICE MASON, ET AL.

VS.

CITY OF CLARKSDALE, ET AL.


DATE & TIME BEGUN/ENDED:            April 27, 2022
                                    10:00 a.m. – 12:00 p.m.

                                     Total Time – 2 hours

PRESENT:
                    Honorable Jane M. Virden, U.S. Magistrate Judge

      Attorneys for plaintiffs                           Attorneys for defendants
      Garrett T. Estes                                   Daniel J. Griffith
      Juan T. Williams                                   Bethany A. Tarpley


PROCEEDINGS:       Settlement Conference


Docket Entry:   A settlement conference was held. The case was settled.


                                                 DAVID CREWS, CLERK

                                                 By: /s/ Itonia R. Williams
                                                     Courtroom Deputy Clerk
